Case 2:05-cv-02470-.]DB-dkv Document 9 Filed 08/31/05 Page 1 of 2 Page|D 5

 

  

IN THE UNITED sTATEs DISTRICT coURT F"'ED 5"’ ~F , D.c.
FoR THE wEsTERN DISTRICT oF TENNESSEE
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GLORIA ROGERS, C!.EE)”\.!,=',E; f

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Plaintiff,

vs. No. 05~2470-BV

QUENTON WHITE, et al.,

\./v~._»-.z`_¢~._p-..z~_¢v

Defendants.

 

ORDER EXTENDING TIME FOR DEFENDANT QUENTON WHITE TO ANSWER
OR OTHERWISE PLEAD TO THE COMPLAINT

 

Before the court is the motion of the defendant Quenton white,
for an enlargement of time to answer or otherwise plead to the
complaint filed herein. The motion was served on counsel for the
plaintiff on August 26, 2005.

For good cause shown, the motion is granted. The time in
which the defendant Quenton White must answer or otherwise or plead
is extended up to and including Monclay,r September 26, 2005.

IT IS SO ORDERED this 3lst day of August, 2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

This document entered on the docket ansel in commence
Wim sum 56 and/or 79(§) FHCP on _ , , 0

 

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This notice confirms a copy of the document docketed as number 9 in
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Honorable J. Breen
US DISTRICT COURT

